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United States Bankruptcy Court for the:

District of
{Stata

Case number (itknoway: Chapter

CO) Check if this Is an, .
amended fillng

Official Form 201 .
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more’space ts needed, attach a soparate sheet to this form. On the top of'any additional pages, write the debtor's naive atid the case
numbar (if kriewn).. For more Information, a separate document, instructions for Bankruptcy Forms for Non-ndividdels, 1s avallable,

1. Debtor's name Cell-nique Corporation

2. All other names debtor used

in the last 8 years

Include any assumed names,
trade names,.and doing business

as names

3. Debtor's federal Employer _
identification Nurnber (EIN) 27-0269 3 EBT

4, Debtor's address Principal place of business Mailing address, if different from principal placa
: of business
22 Hamilton Way
Number .  Streat : Number Streal
‘ . PO. Box
Castleton . NY 12033
City State ZiP Cade City Slate ZIP Gade

Location of principal assets, if diffarent from
principal place of business =~

_Kensselaerl

County

Number Street

Clly State ZIP Code |

5. Debtor's website (URL)

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Debtor Cell-nique Corporation

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Case number {i kronnt

Netie

6 Type of debtor

. t 7 *

&! Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
[ Partnership (excluding LLP}

Cl) Other. Specity:

7. Describe debtor's business

A, Chack one:

C2) Heaith Care Business (as defined In 11 U.S.C. § 104(27A))
C] single Asset Real Estate (as defined in 11 U.S.C. § 101(518)}
(Cl Railroad (as defined In 11 U.S.C. § 101(44))

(] Stockbroker (as defined In 11 USC. § 101(83A))
 Corimodity Broker (as defined in 41 U.8.C. § 101(6))

CJ Clearing Bank (as defined in 11 U.S.C, § 781(3))

EK) None of the above

Cat bb peel tee i
HA aCe A Sr A Te SP

8. Check all that apply:

Q) Tax-exempt entity (as described in 26 U.S.C. § 601)

C3) tnvastment company, Including hedge fund or pooled Investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C1 invastment advisor (as definedin 15 U.S.C. § 80b-2(a)(11))

ff

eTRS
dus

hitov/waw.uscourts.cow/four-digit-national-association-nalcs-codes
4A 2 4 4. . .
g. Under which chapter of the Check one:
Bankruptcy Code is the .
debtor filing? U1 Chapter 7
Ql Chapter 9

A debtor who fs a “small business
debtor’ must check the first sub-
box, A debtor as defined In

§ 1182(1) who elects fo proceed
under subchapter V of chapter 11
(whether or fot the debtor Is a *
“small business debtor’) must
check the second sub-box,

KJ Chapter 11, Check afi that apply:

QI The debtor is a small business debtor as defined in 14 U.S.C. § 101(51D)}, and Its
aggregate noncontingent liquidated debts (excluding dabts awed to Insiders or
aiflilates) are less than $3,024,725, If this sub-box is selected, attach the most
recent balance sheel, statement of operations, cash-flow statement, and federal.
income tax return or if any of these documents do not exist, follow the procedure In
11 U.S.C, § 1116(7B). ‘

CJ The debtor is a debtor as dafinad In 11 U.S.C. § 1192(4), its aggregate
noencontingent liquidated debts (excluding debts owed to insiders‘or affiliates) are
less than $7,800,000, and it chooses to proceed under Subchapter V of
Chapter 11. if this sub-box is selected, ‘attach the most recent balanica sheet,
statement of operations, cash-flow statement, and federal Inconie tax retuin, or IF -
any of these documents do not axist, follow the procedure in 17U.S.C. ..

§ 1116{1)(B).

© A plan is being filed with this petition.

(J Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.8.0. § 1126(b). .

(3 The debtor fs required to fife perlodic reports (for example, 10K and 10Q) with the
Securittes and Exchange Commission according to § 13 or 15(d) of the Secitritles
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuais Filing
for Bankruptcy under Chapter 17 (Officlal.Form 204A) with this fore, os

(C) The debtor Is a shell company as defined in the Securities Exchange Aot of 1034 Rule:
42b-2. .

C] Chapter 12

Olficial Form 204

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Cage number iknow

Debtor ' Cell-nique Corporation
ane

9. Were prior bankruptcy cases (] No
filed by or against the debtor
within the act 8 years?- yes. plotiet New York Northern when 08/10/2023 case number _23-10815
, , MM / DD IYYYY

if more than 2 cases, attach 4
separate Iist. Distdct When Gase number
MMi ODIYYYY

10. Are any bankruptcy cases O] No
ending or being filed by a .
Peeinaws partner oran y @l Yes. Debtor Sae attached Relationship
affiliate of the debtor? District’ When

List all cases. if more than 4, MM ? DD IYYYY
attach a separate list. Case number, if known

41. Why ts the case filed In this Check ail that apply:
distri .
istrict? &] Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this pefition or for a longer part of such 180 days than in any other
district. : “

C) A bankruptcy case concemlng debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor owneorhave (] No

+

- possession of any real C] Ves. Answer below for each property that needs Immediate attention. Attach additional sheets If needed.
property or personal property ~~
that needs immediate Why does the property need Immediate attention? (Check all that apply.)

attention? / Los
. CO) tt poses or is alleged to pose a threat of Imminent and identifiable hazard to public health ar safety,

What is the hazard?

CL] tineeds to be physically secured or protected from the weather,

2 it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securitles-related
assets or other options).

O other

Where Is the property? 22 Hamilton Way

Nurabér Streal -
Casilaton NY 42033
Cily State ZIP Code

ie the property insured?
UL No

E) Yes. Insurance agency _ American General

Contact name

Phone ‘

a ‘Statistical and administratlve information

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Dablor Cell-nique Corporation Case number (known)

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Name

¢

43, Debtor’s estimation of Check one:

available funds I Funds will be avaliable for distebution to unsecured creditors.

Ql Atter any administrative expenses are pald, no funds will be available for distribution to unsecured creditors.

Rett 1 +49 OQ 1,000-5,000 1) 25,001-50,000
14. Estimated number of (fl so-99 0 §,001-10,000 QC. 50,001-100,000
or CI 100-199 2) 10,001-25,000 CI More than 100,000
C1) 200-899
(2 $0-$56,000 C) $1,000,001-$10 million (Cd $500,000,001-$4 biltton

15. Estimated assets 0 $50,001-$100,000

CL} $100,001-$500,000
C2 $500,001-$1 million

KH) $40,000,001-$50 million
(3 $60,000,001-$100 million
(2 $100,000,001-$500 million

(2 $1,000,000,001-$10 billion
O $40,000,000,001-$50 billion
(I More than $50 billion

0) $1,000,001-$40 million
 $10,000,001-$50 million
(2 $50,000,c01-$106 million
CI $100,060,001-$500 million

Ct $0-$50,000

(i $50,001-$100,000
OQ 3100,001-$500,000
(2 $500,004-$4 million

18, Estimated liabilities -

(2 $500,000,004-$4 billion

C2 $1,000,000,001-$10 billlon

(2 $10,000,000,001-$50 billlon

Ci More than $50-blllion |
my

a cc for Relief, Declaration, and Signatures

4

WARNING — Bankruptey fraud 1s a serious crime, Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprgonment for Lip to 20 years, or both, 18 U.S.C. §§ 452, 1941, 4649, and 3577.

17. Declaration and signature of
authorized representative of

debtor petition.

| have been authorized to fila this petition on tehaif of the debtor.

The debtor requests rallaf in accordance with the chapter of tile 11,

United States Code, specified In this

I have examined the Information In this petition and have a raasonable bellef that the Information Is tre and

correct.

i declare under penalty of perjury that the foregoing Is tue and corract.

Executedon 05/09/2024
i MMF OD fY¥YY¥
x

DMZ

Dan Ratner

Signature of aulhorzed representative of debtor Printed nama

Title President

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Debtor Coll-nique Corporation

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Case number (¢ snc}

Name

48, Slgnature of aitornay

S pet cont « oe
‘Signatura of aliomey fo!

Fr debta

Peter A. ta Store

Printed name

Date as fe /202y

t 1DD I¥YYY

OCennei|& Afanowit ZT. C.

Firm nama

S| State Stree? ath FL.

Albani NY“ Leto?

City f State _ ZIP Code
S(X-Ylo2-SLol Yalastore@ralaw.dom
Contact phone Email addrass

Sob{ |b NY

Bar number State

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Voluntary Petition for Non-lndlviduats Filing for Bankruptcy page &
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ME OR EME Ces eL elm Cem le Mam tucemerstcteecLict BUT EMELT¢ B

Debtor Name Cell-nique Corporation

United States Bankruptoy Court for the: District of
, . (State)

Case number (if known}:

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15

An individual who Is authorized to act on behalf of a non-Individual debtor, such as a corporation of partnership, must sign and. submit
this form for the schedules of assets and liabilities, any other documant that requires a declaration that is not included In the document,
and any amendments of those documents. This tarm must state the individual's ‘position or relationship to the debtor, the identity of the
document, and the date. Bankruptey Rules 1008 and 9011.

WARNING -- Banktuptey fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result In tines up to $500,000 or imprisonment for up to 20 years, or both. 10 U.S.C. §§ 152, 1941,
1519, and 3571.

FR 2: 2:2c210 and signature

“

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor In this case.

| have examined the intormattion in the documents checked below and | have a reasonable belief that the information fs true and correct:

+
\

oO

Schedule A/B: Asseis—Real and Personal Property (Ollicial Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Olficlal Form 206D)
Schedule E/F: Craditors Who Have Unsecured Claims (Official Form 206E/F)
Schedtle G: Executery Contracis and Unexpired Leases {Otticlal Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individvals (Otlicial Form 206Sum)

Ooocoeoan

Amended Schedule

EF

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

C0

Other document that requires a declaration

I declare under penalty of perjury that the foregoing Is true and correct.

Executed on 04/25 / 2024 x Y tA

’ MM/DD/YYYY Signature of individual signing on behall of debtor

Dan Ratner
Printed name

President
Position or relationship to debtor

Officlal Form 202 Declaration Under Penalty of Perjury for Non-idlvidual Debtors
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Form 20% Supplement ;
ltam # 10 Affitlates Filing

Cell-nique Corporation (Parent)

Hudson River Foods Corporation (100% Subsidiary)

Hodgson Mill Corporation (100% Subsidiary)

Dancing Deer Carporation {100% Subsidiary) .
